               Case 2:21-cv-00031-BJR Document 8 Filed 01/12/21 Page 1 of 1
     WAWD - Praecipe (Revised 2/13/13)
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6
                                          UNITED STATES DISTRICT COURT
7                                        WESTERN DISTRICT OF WASHINGTON

8

9      PARLER, LLC
             Plaintiff(s),                                     Case No. 21-cv-00031
10
       v.
                                                               PRAECIPE
11

12     AMAZON WEB SERVICES, INC.
            Defendant(s).
13
       TO THE CLERK OF THE ABOVE-ENTITLED COURT:
14
       You will please:
15     Change the email address for Ambika Doran on her signature block from bjohnson@dwt.com to
       adoran@dwt.com
16

17

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19

20

21      January 12, 2021                     s/Ambika Kumar Doran
        Dated                                Sign or use an "s/" and your name
22

23                                           Ambika Kumar Doran, WSBA #38237
                                             920 Fifth Avenue, Suite 3300
24                                           Seattle, WA 98104-3150
                                             Telephone: 206-622-3150
25
                                             Name, Address, and Phone Number of Counsel or Pro Se
26
       PRAECIPE                                       Page 1 of 1
